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         ORDERED in the Southern District of Florida on September 28, 2018.




                                                               Erik P. Kimball, Judge
                                                               United States Bankruptcy Court
_____________________________________________________________________________

                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                   WEST PALM BEACH DIVISION

        In re:                                                                Chapter 11

        FRANK INVESTMENTS, INC.,                                              Case No. 18-20019-EPK
        FRANK THEATRES MANAGEMENT, LLC, and                                   Case No. 18-20022-EPK
        FRANK ENTERTAINMENT COMPANIES, LLC,                                   Case No. 18-20023-EPK
                                                                              (Jointly Administered)
               Debtor(s).
        ________________________________________________/

                 ORDER SHORTENING TIME FOR FILING PROOFS OF CLAIM,
                 ESTABLISHING PLAN AND DISCLOSURE STATEMENT FILING
                    DEADLINES, AND ADDRESSING RELATED MATTERS

                 THIS ORDER CHANGES A PREVIOUSLY SET CLAIMS BAR DATE

                This chapter 11 case came before the Court for status conference pursuant to 11 U.S.C.
        § 105(d) on September 26, 2018 (the “Status Conference”). The Court considered the
        circumstances of this case and the positions of Frank Investments, Inc., Frank Theatres
        Management, LLC, and Frank Entertainment Companies, LLC (the “Debtors”) and other
        parties in interest presented at the Status Conference. To ensure that this case proceeds in
        an efficient manner, the Court finds it appropriate to implement the procedures described in
        this Order governing the filing of a plan of reorganization (a “Plan”) and related disclosure
        statement (a “Disclosure Statement”). Accordingly, the Court ORDERS as follows:

               1.      Claims Bar Date. Any Creditor (other than a governmental unit) or equity
        security holder whose claim or interest is not scheduled or is scheduled as disputed,
        contingent, or unliquidated, shall file a proof of claim or interest on or before November 15,
        2018. Governmental units shall file a proof of claim no later than 180 days after the date of


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the order for relief. THIS PARAGRAPH CHANGES A PREVIOUSLY SET CLAIMS
BAR DATE.

         2.    Deadline for Filing Plan and Disclosure Statement. The Debtors shall
file a Plan and Disclosure Statement on or before December 17, 2018 (the “Filing Deadline”).
This deadline does not affect the deadline imposed on single asset real estate debtors
pursuant to 11 U.S.C. § 362(d)(3).

       3.     Contents of Disclosure Statement. The Disclosure Statement must meet
the requirements of 11 U.S.C. § 1125. Without limiting the generality of the foregoing, the
Disclosure Statement shall, at a minimum, contain adequate information pertaining to the
Debtor in the following areas:

              (a)    Pre- and post-petition financial performance;

              (b)    Reasons for filing chapter 11;

              (c)    Steps taken since filing of the petition to facilitate reorganization;

              (d)    Projections reflecting how the Plan will be feasibly consummated; and

              (e)    A liquidation analysis.

       4.     Proposed Text under Bankruptcy Rule 2002(c)(3). If the Plan provides
for an injunction against conduct not otherwise enjoined under the Bankruptcy Code, a
release of non-debtor parties, or a similar provision, concurrently with the filing of the
proposed Disclosure Statement and Plan the Debtors shall file a Notice of Filing of Proposed
Text Required by Bankruptcy Rule 2002(c)(3) for Inclusion in Order Conditionally Approving
Disclosure Statement, setting forth text the Debtor wishes the Court to include in any order
approving or conditionally approving the Disclosure Statement. Failure to file this Notice in
a timely manner may result in continuation or cancellation of the Confirmation Hearing
(defined below), denial of approval of the Disclosure Statement, denial of confirmation of the
Plan, termination of the Debtors’ exclusive right to file and/or seek acceptance of a plan,
appointment of a trustee, conversion of the case, dismissal of the case, or any other remedy
deemed appropriate by the Court.

        5.    Debtors May Request Conditional Approval of Disclosure Statement
and Consolidated Hearing on Disclosure Statement and Plan Confirmation.
Pursuant to 11 U.S.C. § 105(d)(2)(B)(vi), the Debtors may file with the Disclosure Statement
a motion requesting that the Court conditionally approve the Disclosure Statement and
requesting that the hearing on final approval of the Disclosure Statement be consolidated
with the hearing on confirmation of the Plan (the “Confirmation Hearing”). If the Debtors
file such a motion, the Court will review the Disclosure Statement to determine whether it
contains adequate information as required under 11 U.S.C. § 1125. If the Court finds the
Disclosure Statement adequate, the Court may enter an order conditionally approving the
Disclosure Statement and fixing related deadlines, and including the Debtors’ proposed text
pursuant to Bankruptcy Rule 2002(c)(3), if applicable. If the Court does not grant conditional




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approval of the Disclosure Statement, the Court will enter an order setting a hearing on the
Disclosure Statement and fixing related deadlines.

       6.     Dismissal or Conversion of the Case.

              (a)     If the Debtors fail to file a Plan and a Disclosure Statement on or before
                      the Filing Deadline, the Court may set a hearing to determine whether
                      this case should be dismissed or converted pursuant to 11 U.S.C. §
                      1112(b).

              (b)     If a Plan is not confirmed at the Confirmation Hearing the Court will
                      consider whether the case should be dismissed or converted under 11
                      U.S.C. § 1112(b).

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Copy to:

Patrick R. Dorsey, Esq.

Patrick R. Dorsey, Esq. is directed to serve a copy of this order on all creditors of the jointly
administered Debtors, all equity security holders, the United States Trustee, and all other
parties in interest, including without limitation those parties listed on the "Master Service
List" if required to be filed pursuant to Local Rule 2002-1(H), and to file with the Court a
certificate of service attesting to the same.




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